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                                                  U.S. Department of Justice
                                                                                              Page 3
                                                      United States Attorney
My und                                                Southern District of New York
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                      July 2, 2025

BY ECF
The Honorable Arun Subramanian
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

         Re:     United States v. Sean Combs, 24 Cr. 542 (AS)

Dear Judge Subramanian:

        The Government respectfully submits this letter following the jury trial of the defendant,
Sean Combs. Following a seven-week jury trial, the defendant was found guilty of two counts of
interstate transportation for the purpose of prostitution in violation of 18 U.S.C. § 2421(a). The
defendant has moved for bail pending sentencing under the Bail Reform Act. However, because
detention is mandatory under the Bail Reform Act, 18 U.S.C. § 3143(a)(2), he is not entitled to
release and his detention must be continued.1

    I.         Background

        Over the course of seven weeks, the jury heard evidence of the defendant’s violence,
interstate transportation of numerous individuals for prostitution, drug use and distribution, and
attempts to escape law enforcement detection. This conduct spanned two decades. At trial, the
defendant did not walk away from these facts—indeed, the defendant embraced the fact that he
was a habitual drug user who regularly engaged in domestic abuse. Rather, the defendant argued
that despite his repeated violence against girlfriends, he did not engage in sex trafficking; and
despite his prolific drug use, he did not engage in racketeering activity. The jury subsequently
acquitted the defendant on counts related to racketeering conspiracy and sex trafficking.

        The defendant was convicted of two counts of violating the Mann Act, by transporting
girlfriends and male commercial sex workers interstate for the purpose of engaging in acts of
prostitution. Specifically, the defendant caused these individuals to travel interstate and
internationally for the purpose of engaging in “Freak Offs” or “Hotel Nights,” elaborate, multi-
day sex performances involving significant drug use that the defendant directed, masturbated
during, and often filmed. The evidence presented over the course of seven weeks showed that the
defendant did this repeatedly, including after the defendant undisputably knew that he was under
federal investigation. (See, e.g., Tr. 1953; GX 1402, GX 1406).

1
  Notwithstanding the Government’s initial statement at the time of the verdict, the applicable legal
standard is set forth in 18 U.S.C. §§ 3143(a)(2), 3142(f)(1)(A).
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        Additionally, the facts adduced at trial show, among other things, that the defendant serially
abused a former girlfriend, Casandra Ventura and that Ms. Ventura sustained injuries from many
of these assaults. One such assault, that took place in March 2016, was captured on surveillance
video. (See GX 10C-115). This video, a version of which was published by CNN in May 2024,
showed the defendant throwing Ms. Ventura to the ground, kicking her repeatedly, and attempting
to drag her down the hallway. This was far from the only assault the defendant perpetrated on Ms.
Ventura: trial testimony from multiple witnesses recounted numerous other instances of abuse, in
which the defendant slapped, hit, kicked, and dragged Ms. Ventura by the hair. (See, e.g., Tr. 276,
1599, 2433-34, 2984). Despite the defendant’s claim in a public social media post that he was a
“changed man” following the leak of the surveillance video, the defendant continued to engage in
violent conduct. In June 2024, the defendant choked, kicked, and punched another girlfriend, Jane,
and then directed her to take drugs and to perform in a Freak Off. (Tr. 5193-5216). This incident
occurred months after the defendant’s residences were searched by federal agents, when the
defendant unquestionably understood that he was under federal investigation for sex trafficking by
force, fraud, and coercion. (Tr. 5193-5216). The facts at trial also showed that the defendant
regularly bought and consumed drugs, including drugs that he provided to Ms. Ventura and Jane
during Freak Offs or Hotel Nights. (See, e.g., Tr. 484, 4688).

         In addition to the June 2024 violent incident involving Jane, the defendant also engaged in
other criminal conduct while he was aware that he was under federal investigation. During the
March 2024 searches of the defendant’s residences, law enforcement recovered narcotics and three
separate firearms with defaced serial numbers.2 (Tr. 1959, 6077-78; GX 1306). Further, evidence
at trial established that the defendant engaged in transportation for purposes of prostitution with
Jane as recently as August 2024—a mere month before his arrest—where Jane had sex with an
escort in front of the defendant at the defendant’s 2 Star Island residence. (Tr. 5245-46). Indeed,
the defendant was planning to fly Jane to New York for that same purpose in September 2024—
mere days before his arrest. (Tr. 5246-47). In September 2024, at the time of his arrest in
Manhattan, law enforcement recovered $9000 cash and drugs—including MDMA and ketamine—
from the defendant’s hotel room. (Tr. 1390; GX 1305).

    II.     Guidelines Calculation

         The Guidelines calculation in this case is complicated and the Government expects that it
will litigated by the parties. For the purposes of this detention hearing, the Government sets forth
the below preliminary calculation—subject to revision—which the Government believes is the
minimum Guidelines calculation applicable to this case.

Counts Three and Five

    1. The Guideline applicable to Count Three is U.S.S.G. § 2G1.1. Pursuant to U.S.S.G.
       § 2G1.1, the base offense level is 14.



2
 It is a violation of federal law to receive firearms that have obliterated, removed, or altered serial
numbers. See 18 U.S.C. § 922(k).
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    2. The Guideline applicable to Count Five is U.S.S.G. § 2G1.1. Pursuant to U.S.S.G.
       § 2G1.1, the base offense level is 14.

Grouping Analysis

    3. Pursuant to U.S.S.G. § 2G1.1(d), because the offense involved more than one victim,
       Chapter Three, Part D is applied as if the promoting of a commercial sex act or prohibited
       sexual conduct in respect to each victim had been contained in a separate count of
       conviction. Because there are more than six victims and each victim as if they had been
       contained separate count of convictions, there are more than five Groups. Each Group has
       an offense level of 14.

        Even setting aside Ms. Ventura and Jane, the evidence at trial showed that the defendant
transported seven escorts—Jules Theodore, Clayton Howard, Julian Sapp, Kabrale Williams, Paul
Arthur, Michael Ejiawoko, a/k/a “Reggie,” and Rico Bozant—for the purposes of promoting
commercial sex acts. (See GX 1402 and 1406). Accordingly, under Section U.S.S.G. § 2G1.1(d),
there are more than six victims. See U.S.S.G. § 2G1.1(d), app. note 1 (“victim” means “a person
transported, persuaded, induced, enticed, or coerced to engage in, or travel for the purpose of
engaging in, a commercial sex act or prohibited sexual conduct, whether or not the person
consented to the commercial sex act or prohibited sexual conduct”).

    4. In calculating the combined offense level pursuant to U.S.S.G. § 3D1.4, because the five
       Groups are equally serious, the offense level is 19.

Chapter Three Enhancements

    5. Pursuant to U.S.S.G. § 3B1.1, because the defendant was a manager or supervisor and the
       criminal activity was otherwise extensive, three levels are added.

        The evidence at trial showed that the defendant was a manager or supervisor of one or more
other participants, namely, Ms. Ventura and Jane. See U.S.S.G. § 3B1.1 app. note 2. Further, the
criminal activity was “otherwise extensive.” When considering whether criminal activity was
“otherwise extensive,” application note 3 instructs the Court to consider “all persons involved
during the course of the entire offense.” U.S.S.G. § 3B1.1 app. note 3. As an example of criminal
activity that could be otherwise extensive, the application describes “a fraud that involved only
three participants but used the unknowing services of many outsiders[.]” Here, the evidence at
trial demonstrated that the defendant used the services of many of his employees, including his
chief of staff Kristina Khorram, his travel advisor, his security staff, and his assistants, in order to
carry out the offenses of conviction. Even if all of those employees were “unknowing”
participants, their years-long assistance in facilitating the criminal activity satisfies the criteria for
this enhancement.

    6. Pursuant to U.S.S.G. § 3C1.1, because the defendant willfully obstructed or impeded, or
       attempted to obstruct or impede, the administration of justice with respect to the
       investigation and prosecution of Counts Three and Five, and the obstructive conduct related
       to those counts and relevant conduct, two levels are added.
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         The defendant attempted to obstruct justice with regard to Counts Three and Five in
multiple respects, including his attempts to pay off security guards following his assault of Ms.
Ventura at the Intercontinental Hotel in Los Angeles, California, and in his calls to Jane following
the settlement of Ms. Ventura’s lawsuit.

        With regard to the Intercontinental Hotel assault, U.S.S.G. § 3C1.1 application note 1
provides that “[o]bstructive conduct that occurred prior to the start of the investigation of the
instant offense of conviction may be covered by this guideline if the conduct was purposefully
calculated, and likely, to thwart the investigation or prosecution of the offense of conviction.” The
evidence at trial showed that in the minutes following his assault of Ms. Ventura, the defendant
offered Israel Florez a stack of cash and attempted to shut Mr. Florez out of the hotel room where
Jules Theodore, an escort whom the defendant had previously transported for the purpose of
engaging in prostitution, was, hiding his offense. In addition, as the testimony of Eddy Garcia
revealed, in the following days, the defendant took further steps to pay off security staff to secure
a video of his crimes, preventing further law enforcement investigation.

       With regard to the defendant’s recorded calls to Jane in November 2024, the defendant
attempted to feed Jane a false narrative regarding her participation in hotel nights to silence Jane
and prevent the law enforcement investigation into the conduct, which encompasses the conduct
underlying Counts Three and Five, that gave rise to this case. See U.S.S.G. § 3C1.1 app. note 1.

    7. Accordingly, the total offense level for Counts Three and Five is 24.

Criminal History Category

       Based upon this Office’s current understanding (including through representations by the
defense), the defendant has zero criminal history points. In accordance with the above, the
defendant’s Criminal History Category is I.3

Sentencing Range

       Accordingly, based only on the preliminary calculations set forth above, the defendant’s
Guidelines range is at least 51 to 63 months’ imprisonment.

        The Government notes, however, that the Guidelines applicable at sentencing may be
higher than this preliminary calculation. The Government has not had adequate time to carefully
consider all potentially applicable Guidelines provisions. For example, as the Court is aware,
evidence presented at trial in support of the defendant’s convictions on Counts Three and Five
overlaps substantially with evidence related to the sex trafficking counts. Accordingly, much of
this conduct is not included in the Guidelines definition of “acquitted conduct” and may be relevant

3
 The defendant does not qualify for an adjustment for certain zero-point offenders under U.S.S.G.
§ 4C1.1 because the defendant used violence in connection with the offense, U.S.S.G.
§ 4C1.1(a)(3), the instant offense of conviction is a sex offense, U.S.S.G. § 4C1.1(a)(5), and the
defendant should receive an adjustment under U.S.S.G. § 3B1.1 as outlined above, U.S.S.G.
§ 4C1.1(a)(10).
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to the Guidelines calculation. See U.S.S.G. § 1B1.3(c), app. note 10. For instance, the Government
expects to seek the application of the four-point enhancement pursuant to U.S.S.G.
§ 2G1.1(b)(1)(B)(i) for offenses involving fraud or coercion. See U.S.S.G. § 2G1.1 app. note 2
(“For purposes of subsection (b)(1), ‘coercion’ includes any form of conduct that negates the
voluntariness of the victim.”).4 The Government requires additional time to consider any other
potential enhancements or cross-references that may be applicable.

    III.       Applicable Law

        The Bail Reform Act governs whether a recently convicted defendant is eligible for release
pending sentencing. United States v. Lea, 360 F.3d 401, 403 (2d Cir. 2004). Under the Bail
Reform Act, detention is mandatory for defendants convicted of certain specified “crimes of
violence.” 18 U.S.C. §§ 3143(a)(2), 3142(f)(1)(A); see United States v. Perez, No. 23-7090, 2023
WL 7276651, at *1 (2d Cir. Nov. 3, 2023) (“A person convicted of a crime of violence is generally
to be detained pending sentencing.”). “By the explicit terms of the Bail Reform Act, a violation of
the Mann Act, 18 U.S.C. § 2421, is considered a crime of violence.” United States v. Sulewski,
No. CRIM. 3:06CR64(CFD), 2006 WL 1549987, at *1 (D. Conn. May 31, 2006). Specifically,
under 18 U.S.C. § 3156(a)(4)(C), a “crime of violence” includes any felony under chapter 117 and
a violation of the Mann Act, 18 U.S.C. §§ 2421(a), falls under Chapter 117.

        Specifically, where a defendant has been convicted of a crime of violence and is awaiting
sentencing, as the defendant is here, Section 3143(a)(2) provides that the court “shall order” that
the defendant “be detained unless”:

           (A) (i) the judicial officer finds there is a substantial likelihood that a motion for acquittal
               or new trial will be granted; or (ii) an attorney for the Government has recommended
               that no sentence of imprisonment be imposed on the person; and

           (B) the judicial officer finds by clear and convincing evidence that the person is not likely
               to flee or pose a danger to any other person or the community.

18 U.S.C. § 3143(a)(2) (emphasis added). The defendant must fulfill both prongs of the standard
set out in subsection (B)—i.e., the defendant must demonstrate “by clear and convincing evidence
that he is: (1) not likely to flee; and (2) not a danger to the safety of any other person or the
community.” United States v. Scali, No. 7:16-CR-466-(NSR), 2018 WL 3410015, at *2 (S.D.N.Y.
July 12, 2018), aff'd, 738 F. App’x 32 (2d Cir. 2018). Clear and convincing evidence is that which
“produce[s] in the mind of the trier of fact a firm belief or conviction as to the truth of the
allegations sought to be established, evidence so clear, direct and weighty and convincing as to
enable [the factfinder] to come to a clear conviction, without hesitancy, of the truth of the precise
facts in issue.” Garcia v. Griffin, No. 16CV2584ALCRWL, 2021 WL 1577679, at *2 (S.D.N.Y.
Apr. 22, 2021); see United States v. McGill, No. 24-MJ-609-MJP, 2024 WL 4647613, at *4
(W.D.N.Y. Nov. 1, 2024). Absent government recommendation that no sentence of imprisonment
be imposed, these criteria are nearly impossible to meet.

4
 This enhancement does not involve all of the elements of sex trafficking under 18 U.S.C. § 1591
and employs a separate definition of “coercion.”
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         The Bail Reform Act permits a limited safety valve from mandatory detention. Under 18
U.S.C. § 3145(c), a defendant subject to detention pursuant to Section 3143(a)(2) “may be ordered
released, under appropriate conditions,” if two requirements are met. See Lea, 360 F.3d at 403.
First, the district court must find “by clear and convincing evidence that the person is not likely to
flee or pose a danger to the safety of any other person or the community if released.” 18 U.S.C. §
3143(a)(1); see id. § 3145(c). Second, it must be “clearly shown that there are exceptional reasons
why such person's detention would not be appropriate.” Id. § 3145(c). “Exceptional circumstances
exist where there is ‘a unique combination of circumstances giving rise to situations that are out
of the ordinary.’” Lea, 360 F.3d at 403; United States v. Lippold, 175 F.Supp.2d 537, 540
(S.D.N.Y. 2001) (collecting cases and noting that “circumstances that are ‘purely personal’ do not
typically rise to the level of ‘exceptional’ warranting release”).

   IV.     Analysis

         The defendant must be detained pursuant to the Bail Reform Act. As detailed above, the
offenses of conviction constitute crimes of violence and mandate detention following the
defendant’s conviction. See 18 U.S.C. §§ 3142(f)(1)(A), 3143(a)(2). Here, the defendant has been
convicted of two such crimes. Because of the near impossibility of meeting the “stringent” criteria
set out in Section 3143(a)(2)(A)-(B), the only conceivable basis for release here is the existence of
“exceptional circumstances.” See Lea, 360 F.3d at 403. However, as the Second Circuit has
recognized, that exception is very narrow exception. Indeed, the Circuit has reversed a district
court’s decision to release a defendant on bail pending sentencing on this basis. See id. (reversing
the district court’s decision to release defendant on bail pending sentencing finding that even
“[a]ssuming, arguendo, that the court reasonably concluded that Lea posed no risk of flight or
danger to anyone, and thus satisfied the requirements of § 3143(a)(1), it plainly erred in finding
that Lea's case presented ‘exceptional circumstances,’” since “[e]xceptional circumstances exist
where there is a unique combination of circumstances giving rise to situations that are out of the
ordinary” and “[t]here is nothing ‘exceptional’ about going to school, being employed, or being a
first-time offender, either separately or in combination.”) (internal citations omitted)). The
defendant utterly fails to show such exceptional circumstances here.

        As detention is mandatory following a conviction of a Mann Act offense, the Government
has been unable to locate a case in which a defendant was released from custody following such a
conviction. Indeed, the Government has only identified several cases where the defendant was
detained pre-trial and remained detained through sentencing. See United States v. Hernandez-
Velazquez, No. 19-CR-306 (WFK), 2024 WL 4879809, at *1 (E.D.N.Y. Nov. 21, 2024) (defendant
who was not a legal US resident was detained following arrest and continued through sentencing
where she plead guilty to a single Mann Act count, in violation of 18 U.S.C. § 2421(a)); United
States v. Jean Claude Roy, No. 13 Cr. 249 (PWG) (D. Md.) (defendant detained pre-trial over
defense objection, who had been charged with sex trafficking, Section 924(c) counts, Mann Act
counts, was acquitted at trial of sex trafficking, attempted sex trafficking and, both Section 924(c)
counts, but convicted of both Mann Act counts, conspiracy to commit sex trafficking, and witness
tampering, although defense counsel did not ask for him to be released). Here, there is yet a
heightened burden that the defendant must carry now that he has been convicted of two felony
Mann Act offense because of his mandatory detention.
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       Even if detention was not mandatory here, which it is, the defendant cannot meet his burden
to show by clear and convincing evidence that he is not likely to flee or pose a danger to any other
person or the community.5

        First, given the significant potential penalties, the defendant continues to be a flight risk.
As described in Section II above, at a minimum, the defendant faces a Guidelines range of 51 to
63 months’ imprisonment and the Guidelines range found at sentencing may be higher. The
possibility of a substantial sentence such as this is a significant factor in assessing the risk of flight.
See United States v. Scali, 738 F. App’x 32, 33 (2d Cir. 2018) (finding the district court did not err
in finding that the defendant had “failed to meet his heavy burden to rebut, by clear and convincing
evidence, the presumption in favor of detention pending sentencing,” since the defendant’s
“Guidelines range of 87-108 months’ imprisonment was significant enough to provide an incentive
to flee.”); United States v. Fishbein, No. 21 Cr. 296 (AS), 2024 WL 3876305, at *1 (S.D.N.Y.
Aug. 20, 2024) (“the [defendant] has now been sentenced to a significant term of imprisonment, a
fact that courts in this Circuit have frequently concluded may weigh in favor of finding that a
defendant is more likely to flee than before learning of their sentencing fate.”) (internal citations
and alterations omitted). Further, while the defendant has offered to have multiple sureties from
his family, evidence a trial established that the defendant repeatedly sought to conceal his criminal
conduct from those close to him. See United States v. Londono-Villa, 898 F.2d 328, 330 (2d Cir.
1990) (reversing district court’s order of release where the district court relied “on the demeanor
of the defendant, his family and his witnesses,” since it “fail[ed] to see how such subjective
assessments can, on their own, satisfy the heightened burden of proof placed on the defendant to
establish that he is not likely to flee by clear and convincing evidence, particularly given the not
unreasonable presumption that the defendant concealed his criminal activities from his family in
the past.”).

        Second, the defendant cannot meet his burden to demonstrate by clear and convincing
evidence that he is not a danger to the community. The overwhelming evidence established at
trial—which the defendant did not dispute—shows that the defendant has engaged in a yearslong
pattern of abuse and violence, including as recently as in June 2024, approximately three months
before his arrest in this case. Despite the knowledge that he was under federal investigation, the
defendant nevertheless brutally assaulted Jane, leaving injuries that were visible for days after the
assault. Additionally, when the defendant traveled to New York City, where, according to defense
counsel, the defendant was waiting to be arrested in this case, he was in possession of drugs and
the materials necessary for a Freak Off. The defendant’s conduct after he understood that he was
under federal investigation underscores that he continues to be a danger to others and is either
unable or unwilling to follow the law.6

5
  The Government respectfully submits that, given the jury verdicts on Counts Three and Five, the
likelihood that a motion for acquittal will be granted is quite low; additionally, as discussed above,
the Government will not recommend that no sentence of imprisonment be imposed. See 18 U.S.C.
§ 3143(a)(2)(A).
6
 At least one trial witness, who was a victim of the defendant’s violence, vehemently opposes the
defendant’s release pending sentencing due to the “serious and immediate threat to victims,
witnesses, and the broader community.” (See July 2, 2025 Ltr. from Deonte Nash, attached at Ex.
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      V.      Conclusion

        For the reasons set forth above, the defendant’s continued detention is required under the
Bail Reform Act. Accordingly, the defendant’s application for bail pending sentencing should be
denied.

                                                Respectfully submitted,

                                                JAY CLAYTON
                                                United States Attorney

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cc:        Counsel of Record (by ECF)




A). We further understand that counsel for other witnesses and victims may want to be heard on
this issue.
